                   EXHIBIT 14




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AUTHORITY® ASSIST HERBICIDE                                                                                                                               TECHNICAL BULLETIN | SOYBEANS

BROADLEAF CONTROL WITH GRASS ASSIST                                                                                                                                                      Group   2, 14    Herbicide




                                     APPLICATION GUIDELINES                                                                                  USE RATES BY SOIL TEXTURE– FL. OZ./A
                                                           Apply preplant up to three days                                          ORGANIC
  Application Timing                                                                                                                                      COARSE             MEDIUM                  FINE
                                                           after planting.                                                          MATTER %

                                                           6 – 12 fl. oz./A. See label for                                              >1 – 2%              6–8                8 – 10             10 – 12
                                                           specific soil, OM use rate
                                                           recommendations.                                                             2 - 4%              8 – 10             10 – 12                   12
                                                           Use high rates for soils of pH less
  Use Rates                                                than 7.0 and lower rates for pH
                                                           greater than 7.0 within the rate
                                                                                                                                                   ROTATIONAL CROP GUIDELINES
                                                           ranges.                                                                Wheat, Lima Beans                                   4 months
                                                           Do not apply more than 12.0                                                                                                4 months
                                                           oz./A per year.                                                        Rye                                                 18 months (MN/ND
                                                                                                                                                                                      north of Hwy #210)
                                               BENEFITS
                                                                                                                                  Tobacco, Barley                                     9.5 months
  • Can be used on LibertyLink®, Roundup Ready®, Roundup Ready®                                                                   Corn, Field* and Seed                               10 months
    2 Xtend, or non-GMO soybeans.
                                                                                                                                  Alfalfa                                             12 months
  • Can also be used in an Enlist Duo® herbicide system on Enlist E3™
    soybeans.                                                                                                                     Cotton, Sunflowers                                  18 months
  • Excellent foundational broadleaf herbicide for unmatched residual                                                             Sweet Corn, Sorghum                                 18 months
    control of small-seeded broadleaf weeds. Controls waterhemp,
    pigweed, nightshade, lambsquarters, kochia, morningglories,                                                                  *IR, Clearfield® and IMR corn hybrids may be planted after four months where
    smartweed, velvetleaf, wild buckwheat and nutsedge.                                                                           Authority Assist herbicide was applied at 4 oz. or less.
  • Provides excellent suppression of early-season grasses (foxtails,
    shattercane) to allow for reduced postemerge trips in-season.
  • For resistant weed populations, use higher rate in recommended
    rate range from label for longer residual control.
  • Tank mix with other herbicides for full-season grass control or use
    as part of a planned pre/post program.
  • For no-till, add Aim® EC herbicide 0.75 fl. oz. + 2,4-D 1 pt./A + COC
    1% or other appropriate burndown program.
  • Active Ingredient: Imazethapyr, Sulfentrazone.


                      SOYBEAN PREEMERGENCE COMPARISONS                                                                                                             Untreated
                                     ISU trials 2012 (Ames & Nashua)

                100
                          99
                                                                                                 87
                80              81
                                                                       84
                                              70
    % Control




                60
                                                                             54
                40
                                                    35
                20
                                                                                                      12
                0
                       Authority® Assist   Valor® herbicide        Fierce® herbicide        Prefix® herbicide
                          herbicide             3 fl. oz.               3 fl. oz.                  2 pt.
                           12 fl. oz.
                                                 Lambsquarters           Velvetleaf                                                               Authority Assist herbicide 9 fl. oz./A SDSU.
                                                                                                                                                       Pictures 30 days after planting.

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